           Case 2:05-cr-00189-TLN Document 46 Filed 12/01/05 Page 1 of 1

 1   QUIN DENVIR, Bar No. 49374
     Federal Defender
 2   801 I Street, Third Floor
     Sacramento, CA 95814
 3   Telephone: (916) 498-5700

 4   Attorney for Defendant
     Luis Armando de la Herran Meza
 5
 6
 7                    IN THE UNITED STATES DISTRICT COURT

 8                  FOR THE EASTERN DISTRICT OF CALIFORNIA

 9
10   UNITED STATES OF AMERICA,               )
                                             )       No. CR S-05-189 LKK
11                  Plaintiff,               )
                                             )
12        v.                                 )
                                             )       TIME EXCLUSION ORDER
13   LUIS ARMANDO DE LA HERRAN MEZA, et al., )
                                             )
14                  Defendant.               )
     ________________________________________)
15
               Upon motion of all parties, the Court continues the next
16
     status conference in this case to December 20, 2005 at 9:30 a.m.       The
17
     government has made plea offers to both defendants, and defense
18
     counsel need additional time to discuss the case and to carefully
19
     review discovery with their respective clients to determine whether to
20
     take the plea offers or set the matter for trial.       Thus, the requested
21
     continuance is for effective and diligent preparation.
22
               The Court finds that the interests of justice served by
23
     granting this continuance outweigh the best interests of the public
24
     and the defendant in a speedy trial.          18 U.S.C. §§3161(h)(8)(A),
25
     3161(h)(8)(B)(iv), and time, therefore, will be excluded from November
26
     29, 2005 through December 20, 2005.
27
28   DATED: November 30, 2005         /s/ Lawrence K. Karlton
                                      HONORABLE LAWRENCE K. KARLTON
                                      Senior United States District Judge
